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Members of the jury, you have seen and heard all the evidence and arguments of the
attorneys. Now I will instruct you on the law.

You have two duties as a jury. Your first duty is to decide the facts from the evidence
in the case. This is your job, and yours alone.

Your second duty is to apply the law that I give you to the facts. You must follow
these instructions, even if you disagree with them. Each of the instructions is important, and
you must follow all of them.

Perform these duties fairly and impartially. Do not allow sympathy
to influence you. You should not be influenced by any person’s race, color, religion,

national ancestry, or sex.

Nothing I say now, and nothing I said or did during the trial, is meant to indicate any
opinion on my part about what the facts are or about what your verdict should be.

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JURY INSTRUCTION NUMBER 2

During this trial, | have asked a witness a question myself. Do not assume that
because I asked questions I hold any opinion on the matters I asked about, or on what the
outcome of the case should be.
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JURY INSTRUCTION NUMBER 3

In this case the defendant, Residential Credit Solutions, Inc. which I will refer to as RCS,
is a corporation. Plaintiff, Alena Hammer, who I will refer to as "Hammer", is an individual who
I will refer to as Hammer. All parties are equal before the law. Corporations are entitled to the
same fair consideration that you would give any individual person.
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JURY INSTRUCTION NUMBER 4
The evidence consists of the testimony of the witnesses, the exhibits admitted in
evidence, and stipulations.

A stipulation is an agreement between both sides that certain facts are true. In this
case there are two stipulations.
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JURY INSTRUCTION NUMBER 5

Certain things are not to be considered as evidence. I will list them for you:

First, if I told you to disregard any testimony or exhibits or struck any testimony or
exhibits from the record, such testimony or exhibits are not evidence and must not be
considered.

Second, anything that you may have seen or heard outside the courtroom is not
evidence and must be entirely disregarded.

Third, questions and objections or comments by the lawyers are not evidence.
Lawyers have a duty to object when they believe a question is improper. You should not be
influenced by any objection, and you should not infer from my rulings that I have any view
as to how you should decide the case.

Fourth, the lawyers’ opening statements and closing arguments to you are not
evidence. Their purpose is to discuss the issues and the evidence. If the evidence as you
remember it differs from what the lawyers said, your memory is what counts.
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JURY INSTRUCTION NUMBER 6
Any notes you have taken during this trial are only aids to your memory. The notes
are not evidence. If you have not taken notes, you should rely on your independent
recollection of the evidence and not be unduly influenced by the notes of other jurors. Notes
are not entitled to any greater weight than the recollections or impressions of each juror about
the testimony.
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JURY INSTRUCTION NUMBER 7

In determining whether any fact has been proved, you should consider all of the
evidence bearing on the question regardless of who introduced it.
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JURY INSTRUCTION NUMBER 8

You will recall that during the course of this trial I instructed you that I admitted
certain evidence for a limited purpose. You must consider this evidence only for the limited
purpose for which it was admitted.
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JURY INSTRUCTION NUMBER 9

You should use common sense in weighing the evidence and consider the evidence
in light of your own observations in life.

In our lives, we often look at one fact and conclude from it that another fact exists. In
law we call this “inference.” A jury is allowed to make reasonable inferences. Any inference
you make must be reasonable and must be based on the evidence in the case.
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JURY INSTRUCTION NUMBER 10

You may have heard the phrases direct evidence and circumstantial evidence. Direct
evidence is proof that does not require an inference, such as the testimony of someone who
claims to have personal knowledge of a fact. Circumstantial evidence is proof of a fact, or a
series of facts, that tends to show that some other fact is true.

As an example, direct evidence that it is raining is testimony from a witness who
says, “I was outside a minute ago and I saw it raining.” Circumstantial evidence that it is
raining is the observation of someone entering a room carrying a wet umbrella.

The law makes no distinction between the weight to be given to either direct or
circumstantial evidence. You should decide how much weight to give to any evidence. In
reaching your verdict, you should consider all the evidence in the case, including the
circumstantial evidence.

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JURY INSTRUCTION NUMBER 11

You must decide whether the testimony of each of the witnesses is truthful and
accurate, in part, in whole, or not at all. You also must decide what weight, if any, you give
to the testimony of each witness.

In evaluating the testimony of any witness, including any party to the case, you may
consider, among other things:

- the ability and opportunity the witness had to see, hear, or know the
things that the witness testified about;

- the witness’s memory;

- any interest, bias, or prejudice the witness may have;
- the witness’s intelligence;

- the manner of the witness while testifying;

- the witness's age;

- and the reasonableness of the witness’s testimony in light of all the
evidence in the case.
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JURY INSTRUCTION NUMBER 12

It is proper for a lawyer to meet with any witness in preparation for trial.
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JURY INSTRUCTION NUMBER 13

The law does not require any party to call as a witness every person who might have
knowledge of the facts related to this trial. Similarly, the law does not require any party to
present as exhibits all papers and things mentioned during this trial.
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JURY INSTRUCTION NUMBER 14

When I say a particular party must prove something by “a preponderance of the
evidence,” or when I use the expression “if you find,” or “if you decide,” this is what I mean:
When you have considered all the evidence in the case, you must be persuaded that it is more
probably true than not true.
Case: 1:13-cv-06397 Document #: 179 Filed: 04/20/15 Page 15 of 60 PagelD #:4135

JURY INSTRUCTION NUMBER I5

During the trial, certain testimony was presented to you by the reading of depositions and
video. You should give this testimony the same consideration you would give it had the witness
appeared and testified here in court.

A deposition is the sworn testimony of a witness taken before trial. The witness is placed
under oath to tell the truth and lawyers for each party may ask questions. The questions and
answers are recorded.
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JURY INSTRUCTION NUMBER 16
Certain demonstrative exhibits have been shown to you. Those are used for
convenience and to help explain the facts of the case. They are not themselves evidence or
proof of any facts.
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JURY INSTRUCTION NUMBER 17
You have heard witnesses give opinions about matters requiring special knowledge
or skill. You should judge this testimony in the same way that you judge the testimony
of any other witness. The fact that such person has given an opinion does not mean that you
are required to accept it. Give the testimony whatever weight you think it deserves,
considering the reasons given for the opinion, the witness’s qualifications, and all of the other
evidence in the case.
Case: 1:13-cv-06397 Document #: 179 Filed: 04/20/15 Page 18 of 60 PagelD #:4138

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JURY INSTRUCTION NUMBER 18
The transcript of the trial testimony will not be available for you to consult.
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JURY INSTRUCTION 19A

Hammer alleges four causes of action against RCS. Under Count I, Hammer claims she is
entitled to recover damages from RCS for breach of contract. Under Count II, Hammer claims
RCS committed unfairness under the Illinois Consumer Fraud and Deceptive Business Practices
Act. Under Count III, Hammer claims RCS committed deception under the Illinois Consumer
Fraud and Deceptive Business Practices Act. Under Count IV, Hammer claims RCS violated the
Real Estate Settlement Procedures Act, also known as RESPA. RCS denies Hammer's
allegations.
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JURY INSTRUCTION NUMBER 20
COUNT I- BREACH OF CONTRACT

Under Count I, Hammer claims she is entitled to recover contract damages from
Residential Credit Solutions, Inc. (RCS), for breach of contract. Hammer has the burden of
proving:

1. The existence of a contract for a loan modification between Hammer and the
FDIC.

2. Performance by Hammer of all her obligations.
3. RCS’ failure to perform its obligations under the contract.
4. Resulting damage to Hammer.
I will explain and define these legal terms elsewhere in these instructions.
If you find from your consideration of all the evidence that one or more of these

elements has not been proven, you must find in favor of RCS. If you find that Hammer has
proven each of these elements you must find for Hammer and consider damages.
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JURY INSTRUCTION NUMBER 21
PROOF OF FORMATION OF CONTRACT

The first element of a contract clam Hammer must prove is the existence of a contract. There is a
contract if Hammer proves there was an offer by the FDIC, acceptance of the offer by Hammer

and consideration between the parties.

To prove the existence of a contract between RCS, Hammer has the burden of proving each of the
following propositions by a preponderance of the evidence:

First the FDIC must have made an offer to Hammer.

1. An “offer” is a communication of a willingness to enter into a contract. The communication
must satisfy four conditions:

[1] the communication must have included a definite promise by the person making the
communication, showing a willingness to make an agreement;

[2] the important and necessary terms must be definite;

[3] the terms must be communicated by words or conduct to the other party; and

[4] the communication must give the other party the power to agree to its terms.
2. Second Hammer must prove she accepted an offer made by the FDIC.

“Acceptance” of an offer is a communication of agreement to the terms of the offer. For the
acceptance to be valid:

[1] Hammer, must have agreed to all of the material terms in the offer; and

[2] Hammer, must have communicated agreement according to the terms by accepting the
offer in writing.

3. Third the agreement included an exchange of promises or value, which is known as
consideration. There is sufficient consideration if Hammer can prove that something of value was
bargained for by the parties and given by one party in exchange for the other’s promise.
“Something of value” may consist of a promise, an act, a promise to act or not act, or any payment
that was of benefit to one party or a disadvantage to the other.
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JURY INSTRUCTION NUMBER 22
PERFORMANCE

As to the second element of Hammer’s Contract claim, if Hammer proves the existence of
a loan modification contract, then she must prove she performed all of her obligations
under the loan modification offered by the FDIC.
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JURY INSTRUCTION NUMBER 23
BREACH

The third element of a contract claim which Hammer must prove is RCS’ breach of the contract.
To recover on her claim, Hammer has the burden to prove RCS failed to do something the
contract required RCS to do.
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JURY INSTRUCTION NUMBER 24
DAMAGES

The fourth element of a contract claim is damages. Hammer must prove she sustained
damages resulting from RCS’ breach. To recover on her claim, Hammer must prove that

because of RCS’ failure to perform the contract, she has been damaged.

RCS denies Hammer sustained any damages.

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JURY INSTRUCTION NUMBER 25
MEASURE OF DAMAGES

If you find in favor of Hammer you must then decide how much money, if any, would
fairly compensate Hammer for the breach of contract. Hammer has the burden of proving each
element of damages claimed and that they occurred as a direct and natural result of RCS’
breach. In calculating Hammer’s damages, you should determine that sum of money that will
put Hammer in as good a position as she would have been in if both Hammer and RCS, had
performed all of their promises under the contract.

Hammer seeks an award of several different categories of contract damages.

[1] Direct damages for:
“Direct Damages” are the amount of gain Hammer would have received if the parties
had fully performed the contract. You calculate the amount of this gain by determining
the value of the contract benefits Hammer did not receive because of RCS’ breach
and then subtracting from that value, the amount you calculate the value of whatever
expenses Hammer saved because of the breach.

[2] Incidental damages for:

Incidental damages are different from direct and special damages.

“Incidental Damages” are costs that were reasonably spent either in responding to
RCS’s breach of the contract or in securing the benefits RCS was to have provided.

[3] Emotional Damages:

Emotional damages may only be awarded for a breach of contract if Hammer has proven
that the breach of contract was wanton and reckless and caused bodily harm or where RCS had
reason to know, when the contract was made, that its breach would cause mental suffering for
reasons other than mere pecuniary loss.
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JURY INSTRUCTION NUMBER 26
Hammer must prove demonstrable emotional distress in order to recover damages for emotional
distress. She cannot establish emotional distress damages based simply on conclusory statements
regarding emotional damages. Hammer cannot recover for any emotional damages caused by her
decision to bring this lawsuit.

This instruction applies to all claims.
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JURY INSTRUCTION NUMBER 27
COUNT II - Illinois Consumer Fraud and Deceptive Business Practices Act:
Unfairness
Hammer claims that RCS violated an Illinois statute called the Consumer Fraud and
Deceptive Business Practices Act (“Consumer Fraud Act”). I will refer to this claim in these
instructions as the “Consumer Fraud Act Claim.”

The Consumer Fraud Act statute prohibits unfair and deceptive acts, including the use or
employment of any deception, fraud, false pretense, false promise, misrepresentation or the
concealment, suppression or omission of any material fact, with intent that others rely upon the
concealment, suppression or omission.

To prove a violation of the Consumer Fraud Act for unfairness, Hammer must prove each of
the following elements by a preponderance of the evidence:

1) RCS engaged in an unfair act or practice;

2) RCS intended for Hammer to rely on the unfairness;

3) The unfairness occurred in a course of conduct involving trade or
commerce;

4) Hammer sustained actual damages; and

5) Such damages were proximately caused by RCS’ unfairness.

If you find that Hammer proved each of these elements, then you must find in favor of
Hammer and against RCS on the Consumer Fraud Act Claim for unfairness, and then consider the
issue of damages.

If you find that Hammer has not established one or more of these elements, then you must
find in favor of RCS and against Hammer on the Consumer Fraud Act Claim for unfairness, and
you will not consider the issue of damages.
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JURY INSTRUCTION NUMBER 28
Count II Consumer Fraud Act Claim— Element 1: Unfairness Factors to Consider

As to the first element of the Consumer Fraud Act Claim for unfairness, Hammer must
establish by a preponderance of the evidence that RCS committed one or more unfair acts or
practices. To determine whether an act or practice is unfair under the Consumer Fraud Act, you
must consider the following factors:

1. whether the practice offends public policy;
2. whether it is immoral, unethical, oppressive, or unscrupulous;
3. whether it causes substantial injury to consumers.

All three criteria do not need to be satisfied to support a finding of unfairness. A practice
may be unfair because of the degree to which it meets one of the criteria or because to a lesser
extent it meets all three.
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JURY INSTRUCTION NUMBER 29
Count II Consumer Fraud Act Claim— Unfairness Element 2

As to the second element of the Consumer Fraud Act Claim for unfairness— Hammer must
prove by a preponderance of the evidence that RCS intended for Hammer to rely on the unfair act
or acts or practices.

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JURY INSTRUCTION NUMBER 30 ~
Count II Consumer Fraud Act Claim— Unfairness Element 3

As to the third element of the Consumer Fraud Act Claim for unfairness, Hammer must
prove that the unfair act occurred in the course of trade or commerce as defined by the Consumer
Fraud Act:

The terms “trade” and “commerce” mean the advertising, offering for sale, sale, or
distribution of any services and any property, tangible or intangible, real, personal or
mixed, and any other article, commodity, or thing of value wherever situated, and
shall include any trade or commerce directly or indirectly affecting the people of this
State.
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JURY INSTRUCTION NUMBER 31
Count II Consumer Fraud Act Claim— Unfairness Elements 4 and 5: Proximate Cause and
Actual Damages

As to the fourth and fifth elements of the Consumer Fraud Act Claim for unfairness - Hammer
must prove by a preponderance of the evidence that Hammer has suffered actual damages and that
RCS’s unfair conduct proximately caused Hammer’s actual damages.
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JURY INSTRUCTION NUMBER 19
When I use the expression “proximate cause,” I mean a cause that, in the natural or ordinary
course of events, produced the plaintiffs injury. It need not be the only cause, nor the last or
nearest cause. It is sufficient if it combines with another cause resulting in the injury.
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JURY INSTRUCTION NUMBER 32
COUNT III — Illinois Consumer Fraud and Deceptive Business Practices Act:
Deception
Hammer also claims that RCS committed deception under the Consumer Fraud Act.

To prove deception under the Consumer Fraud Act, Hammer must prove each of the
following elements by a preponderance of the evidence:

1) RCS engaged in a material deceptive act or practice;

2) RCS intended for Hammer to rely on the deception;

3) The deception occurred in a course of conduct involving trade or
commerce;

4) Hammer sustained actual damages; and

5) Such damages were proximately caused by RCS’ deception.

If you find that Hammer proved each of these elements, then you must find in favor of
Hammer and against RCS on the Consumer Fraud Act Claim for deception, and then consider the

issue of damages.

If you find that Hammer has not established one or more of these elements, then you must
find in favor of RCS and against Hammer on the Consumer Fraud Act Claim for deception, and
you will not consider the issue of damages.
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JURY INSTRUCTION NUMBER 33
Count III Consumer Fraud Act Claim— Element 1: Material Deceptive Act

As to the first element of the Consumer Fraud Act Claim — a “material deceptive act or
practice” — Hammer must prove by a preponderance of the evidence that RCS knew and failed to
disclose and/or misrepresented information, either orally or in writing, about the FDIC loan
modification offer or the handling of Hammer’s mortgage loan account.

The deception must have been material to Hammer. Deception is “material” where a person
would have acted differently knowing the information, or if it concerned the type of information
upon which a person would be expected to rely in making decisions concerning the FDIC loan
modification offer or concerning Hammer’s mortgage account

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JURY INSTRUCTION NUMBER 34
Count III — Consumer Fraud Act Claim — Deception Element 2: Intent to Rely

As to the second element of the Consumer Fraud Act Claim for deception— that “RCS
intended for Hammer to rely on” the alleged deception - Hammer must prove by a preponderance
of the evidence that RCS knew and failed to disclose and/or misrepresented material facts for the
purpose of inducing Hammer’s actions with regard to the FDIC loan modification offer or
Hammer’s mortgage loan account.

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JURY INSTRUCTION NUMBER 35

Count III Consumer Fraud Act Claim— Deception Element 3 — Trade or Commerce

As to the third element of the Consumer Fraud Act Claim for deception Hammer must
prove that the deception occurred in the course of trade or commerce as defined by the Consumer
Fraud Act:

The terms “trade” and “commerce” mean the advertising, offering for sale, sale, or
distribution of any services and any property, tangible or intangible, real, personal or
mixed, and any other article, commodity, or thing of value wherever situated, and
shall include any trade or commerce directly or indirectly affecting the people of this
State.
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JURY INSTRUCTION NUMBER 36
Count III Consumer Fraud Act Claim— Deception Elements 4 and 5: Proximate Cause and
Actual Damages

As to the fourth and fifth elements of the Consumer Fraud Act Claim for deception — that RCS’
alleged conduct “proximately caused” damages to Hammer — Hammer must prove by a
preponderance of the evidence that Hammer was in some manner deceived and that RCS's
deceptive conduct proximately caused Hammer's actual damages.
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JURY INSTRUCTION NUMBER 37
Count III Fraud Act Claims for Unfairness and Deception: Measure of Damages:

If you decide for Hammer on the question of liability under the Consumer Fraud Act Claim
for deception and/or unfairness, you must decide how much money, if any, will reasonably and
fairly compensate Hammer for damages proved by the evidence to have resulted from the conduct
of RCS. Hammer has the burden of proving damages to a reasonable degree of certainty and
Hammer must establish a reasonable basis for computation of damages. A damages award may not
be based on speculation or conjecture.

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JURY INSTRUCTION NUMBER 38
You may award compensatory damages only for injuries that Hammer has proved by a
preponderance of the evidence were caused by RCS’ wrongful conduct. Your award must be based.
on evidence and not speculation or guesswork. This does not mean, however, that compensatory
damages are restricted to the actual loss of money; they include all aspects of Hammer’s injury,
even if they are not easy to measure.
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JURY INSTRUCTION NUMBER 39

In order for Hammer to recover emotional damages, she must prove she sustained actual
economic damages.
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JURY INSTRUCTION NUMBER 41

Counts II and III Consumer Fraud Act Claim— Unfairness or Deception— Standard for
Awarding Compensatory Damages for Emotional Damages

The law has no fixed monetary standard to compensate for emotional damages. This
element of damage is left to your good sound judgment and discretion as to what amount would
reasonably and fairly compensate Hammer for such as you find from the evidence Hammer
suffered.
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JURY INSTRUCTION NUMBER 42

In addition to compensatory damages, the law permits you under the Consumer Fraud Act
Claim under certain circumstances to award punitive damages. If you find, with respect to either or
both the unfairness or deception claims by Hammer, that RCS’ conduct was fraudulent, intentional
and/or willful and wanton and proximately caused injury and/or damage to Hammer, and if you
believe that justice and the public good require it, you may award an amount of money which will
punish RCS and discourage them and others from similar conduct.

In arriving at your decision as to the amount of punitive damages, you should consider the
following three questions. The first question is the most important to determine the amount of
punitive damages:

(1) How reprehensible was RCS’ conduct?

On this subject, you should consider the following:

(a) The facts and circumstances of RCS’ conduct;

(b) — The financial vulnerability of Hammer;

(c) The duration of the misconduct;

(d) The frequency of RCS’ misconduct;

(e) Whether the harm was physical as opposed to economic; and
(f) Whether RCS tried to conceal the misconduct.

(2) What actual and potential harm did RCS’ conduct cause to Hammer in this case?

(3) What amount of money is necessary to punish RCS and discourage them and/or
others from future wrongful conduct?

The amount of punitive damages must be reasonable and in proportion to the actual and
potential harm suffered by Hammer.
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JURY INSTRUCTION NUMBER 43
RCS is corporation and can act only through their officers and employees. As to Hammer’s
claim for compensatory damages against RCS, any act or omission of an officer or employee within
the scope of his or her employment is the act or omission of the defendant corporation.

As to Hammer’s claim for punitive damages against RCS, a different rule applies. Punitive
damages may be awarded against RCS only (1) if you find in favor of Hammer and against RCS
under either of the Consumer Fraud Act Claims, and (2) if you find that, as to the representation(s)
or omission(s) giving rise to liability under either of the Consumer Fraud Act Claims, one or more
of the following conditions are proved:

(a) The corporation, through its management, authorized the doing and the manner of
the representation or omission; or

(b) The representation or omission was that of a managerial employee who was acting
in the scope of his or her employment; or

(c) The corporation, through its management or a managerial employee, ratified or
approved the representation or omission.
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JURY INSTRUCTION NUMBER 44
Any figures proposed by counsel in their arguments are not evidence as to the amounts of
damages you should award, but rather constitute arguments, which you are free to disregard in your
deliberations.

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JURY INSTRUCTION NUMBER 45
COUNT IV: Real Estate Settlement Procedures Act (RESPA)

Hammer also claims RCS violated the Real Estate Settlement Procedures Act, also known
as RESPA. Hammer claims that RCS violated section 2605(e) of RESPA. RESPA establishes
certain duties of loan servicer to respond to borrower inquiries.
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JURY INSTRUCTION NUMBER 46
RESPA - Section 2605(e)

In order to prevail on her claim that RCS is liable to her for a violation of RESPA section
2605(e), Hammer has the burden of proof to establish each of following elements:

1) RCS was servicing Hammer’s loan under RESPA;

2) Hammer or her attorney sent RCS a qualified written request under RESPA;

3) RCS failed to properly respond to Hammer’s qualified written request within the time and
manner allowed under RESPA or RCS reported her account to the credit bureaus within 60 days of

receiving a qualified written request ; And

4) Hammer suffered actual damages as a direct result of RCS’ failure to properly respond to her
written request.

RESPA’s definition of the terms servicing and qualified written request are contained in the
following instructions.
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JURY INSTRUCTION NUMBER 47
Servicer and Servicing

Hammer must establish that RCS was the servicer of her loan and RCS was servicing her
loan at the time she issued her qualified written request.

i) Hammer must establish that RCS is responsible for servicing of Hammer’s loan

ii) Hammer must establish that RCS received scheduled periodic payments from Hammer
pursuant to the terms of any loan.
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JURY INSTRUCTION NUMBER 48
RESPA — Specification on Servicing

The creation, denial or rejection of a loan modification is not servicing under RESPA.
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JURY INSTRUCTION NUMBER 49
RESPA’s Definition of Qualified Written Request

Hammer must prove by a preponderance of the evidence the following to show that her
correspondence qualifies as qualified written request under RESPA:

i) her written correspondence includes, or otherwise enables the servicer to identify, the
name and account of the borrower;

ii) her written correspondence includes a statement of the reasons for the belief of the
borrower, to the extent applicable, that the account is in error or provides sufficient detail to the
servicer regarding other information sought by the borrower;

And

ili) she mailed her written correspondence to RCS at an address RCS provided.

A loan servicer only has an obligation to respond to a qualified written request when the

information requested relates to the actual servicing of the loan.

RESPA does not require any particular language for a written letter to qualify as a qualified
written request.
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JURY INSTRUCTION NUMBER 50
RESPA’s Required Method(s) of Response To A Qualified Written Request

Upon receipt of a valid qualified written response, a servicer has 20 days to acknowledge its
receipt and 60 days to respond. A servicer shall respond by:

1)

A) after conducting an investigation, provide the borrower with a written explanation or
clarification of why the servicer believes the borrower’s account is correct; and provide the name
and telephone number of an individual or the office or the department of the servicer that can
provide assistance to the borrower.

OR

B) after conducting an investigation, provide the borrower with a written explanation or
clarification of why the information requested by the borrower is unavailable or cannot be obtained;
and provide the name and telephone number of an individual or the office or the department of the
servicer that can provide assistance to the borrower.

OR

2) during the 60 day period beginning on the date of the servicer’s receipt from any borrow a
qualified written request relating to a dispute regarding the borrower’s payments, a servicer may
not provide information regarding any overdue payment owed by such borrower and relating to
such period or qualified written request to any consumer reporting agency.

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JURY INSTRUCTION NUMBER 51
Under RESPA, it is irrelevant whether the servicer’s understanding of the loan modification
agreement is correct, so long as it is reasonable. Therefore, a reasonable explanation of the
servicer’s belief is sufficient, even if it is later determined that the belief is erroneous.
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JURY INSTRUCTION NUMBER 52
RESPA’s Damages Requirement

Hammer must establish more than showing a RESPA violation to state a claim. Hammer
must also establish that she suffered damages proximately caused by the RESPA violation.

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JURY INSTRUCTION NUMBER 53
If you decide the defendant is not liable, then you should not consider the
question of damages. If you determine that the defendant is liable then you must consider
the question of damages.
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JURY INSTRUCTION NUMBER 54
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JURY INSTRUCTION NUMBER 55
I do not anticipate that you will need to communicate with me. If you do need to
communicate with me, the only proper way is in writing. The writing must be signed by the
presiding juror, or, if he or she is unwilling to do so, by some other juror. The writing should
be given to the marshal, who will give it to me. I will respond either in writing or by having
you return to the courtroom so that I can respond orally.
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JURY INSTRUCTION NUMBER 56

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JURY INSTRUCTION NUMBER 57
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JURY INSTRUCTION NUMBER 58
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JURY INSTRUCTION NUMBER 59

During your deliberations, you must not communicate with or provide any information to
anyone by any means about this case. You many not use any electronic device or media, such as the
telephone, a cell phone, smart phone, iPhone, Blackberry or computer, the Internet, any Internet
service, any text or instant messaging service, any Internet chat room, blog, or website such as
Facebook, MySpace, LinkedIn, YouTube or Twitter, to communicate to anyone any information
about this case or to conduct any research about this case until I accept your verdict. In other words,
you cannot talk to anyone on the phone, correspond with anyone, or electronically communicate
with anyone about this case. You can only discuss the case in the jury room with your fellow
jurors during deliberations.
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JURY INSTRUCTION NUMBER 60
Upon retiring to the jury room, you must select a presiding juror. The presiding juror will
preside over your deliberations and will be your representative here in court.

Forms of verdict have been prepared for you.

Take these forms to the jury room, and when you have reached unanimous agreement on the
verdict, your presiding juror will fill in and date the appropriate form, and all of you will sign it.

The verdict must represent the considered judgment of each juror. Your verdict, whether for
or against the parties, must be unanimous.

You should make every reasonable effort to reach a verdict. In doing so, you should consult
with one another, express your own views, and listen to the opinions of your fellow jurors. Discuss
your differences with an open mind. Do not hesitate to reexamine your own views and change your
opinion if you come to believe it is wrong. But you should not surrender your honest beliefs about
the weight or effect of evidence solely because of the opinions of other jurors or for the purpose of
returning a unanimous verdict.

All of you should give fair and equal consideration to all the evidence and deliberate with
the goal of reaching an agreement that is consistent with the individual judgment of each juror. You
are impartial judges of the facts.
